               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 119-1


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )            ORDER
                                            )
ELVIS DARRIN BUCKNER,                       )
                                            )
                 Defendant.                 )
____________________________________        )


       THIS CAUSE coming on to be heard and being heard before the

undersigned upon a violation report (#50) filed in the above entitled cause on

February 27, 2013 by the United States Probation Office. In the violation report,

the United States Probation Office alleges that Defendant had violated terms and

conditions of his pretrial release. At the call of this matter on for hearing it

appeared the Defendant was present with his counsel, Jason Hayes, and the

Government was present through Assistant United States Attorney, Richard

Edwards, and from the evidence offered and from the statements of the Assistant

United States Attorney and the attorney for the Defendant, and the records in this

cause, the Court makes the following findings.

       Findings:   At the call of the matter, the Defendant, by and through his

attorney, admitted the allegations contained in the violation report.            The

Government introduced, without objection, the violation report into evidence.



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      The Defendant was charged in a bill of indictment (#1) filed on December 4,

2012 with conspiracy to distribute a quantify of methamphetamine in violation of

21 U.S.C. § 841(a)(1) and 846. A hearing was held in regard to the detention of

Defendant on December 21, 2012. On that date, the undersigned entered an order

releasing the Defendant on a $25,000 unsecured bond. The undersigned further set

conditions of release which included the following:

      (1)   That the defendant shall not commit any offense in violation of

            federal, state or local law while on release in this case.

      (8)(n) The defendant shall refrain from possessing a firearm, destructive

            device, or other dangerous weapons.

      On February 13, 2013 the Defendant applied for a gun redemption at

Foothills Jewelry and Loan in Hickory, NC. On that date, Defendant had gone to

Foothills Jewelry and Loan and had attempted to seek the return of two firearms

that he had pawned at Foothills Jewelry and Loan.           He had pawned one on

September 17, 2012 and another on November 14, 2012. When he sought the

returns of the firearms the Defendant was required to complete an ATF Form 4473

in which Defendant was asked the question, “Are you under indictment or

information in any court for a felony, or any other crime, for which the judge could

imprison you for more than a year?” Defendant signed the form and indicated he


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had not been indicted for such an offense. This answer was false and untrue as

Defendant had been indicted on the charges presented in the bill of indictment in

this case.

              Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial

officer shall enter an order of revocation and detention if, after a hearing, the

judicial officer -----

       (1)    finds that there is----
              (A) probable cause to believe that the person has committed a
       Federal, State, or local crime while on release; or
              (B) clear and convincing evidence that the person has violated any
        other condition of release; and
       (2) finds that ---
              (A) based on the factors set forth in section 3142(g) of this title, there
       is no condition or combination of conditions of release that will assure that
       the person will not flee or pose a danger to the safety of any other person or
       the community; or
              (B) the person is unlikely to abide by any condition or combination
       of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.”


       Based upon the evidence, the undersigned finds there is probable cause to

believe Defendant committed a federal crime while on release.                Defendant

provided a false statement on ATF Form 4473 which is a criminal offense and

which is a felony.

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      There has been shown by clear and convincing evidence that Defendant

violated the condition of release that he not commit any offense in violation of

federal, state or local law while on release. Defendant provided a false report on

ATF Form 4473 which is a felony. There is also clear and convincing evidence

that Defendant at least attempted to obtain and possess firearms, that being the two

guns that he tried to procure from Foothills Jewelry and Loan.

      Due to the findings made above and further considering the presumption that

has been created and also considering the factors as set forth in 18 USC § 3142(g),

it appears there is no condition or combination of conditions of release that would

assure that Defendant will not pose a danger to the safety of any other person or

the community. It is the opinion of the undersigned that based upon Defendant’s

actions, it is unlikely Defendant will abide by any condition or combination of

conditions of release. As a result of the above referenced findings, the undersigned

has determined to enter an order of revocation revoking the unsecured bond and

the terms of pretrial release previously issued in this matter and entering an order

detaining Defendant.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and terms and

conditions of pretrial release entered in this matter are hereby REVOKED and it is


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ORDERED Defendant be detained pending further proceedings in this matter.

                                    Signed: March 12, 2013




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